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                                                                                        FILED
                                                                                   October 18, 2023
                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS

                                                                                        Fidel Morales
                                                                              BY: ________________________________
                                                                                                      DEPUTY




                                                                    EP:23-M-03331-MAT




Complaint sworn to telephonically on
   October 18, 2023
____________        at __________
                          02:00 PM and signed
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)
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                                          Affidavit

On August 30, 2023, Immigration and Customs Enforcement, Office of Professional
Responsibility, Senior Special Agent (SSA) Felix Castaneda responded to the El Paso Processing
Center (EPPC) in El Paso, Texas within the Western District of Texas, in reference a riot that
occurred on August 29, 2023. The EPPC is an Immigration and Customs Enforcement Federal
Detention Facility. SSA Castaneda reviewed video surveillance of the incident and interviewed
EPPC staff in reference to the incident.

On August 29, 2023, at approximately 0748 hours, detainees were waiting to be escorted back to
their housing units from the facility cafeteria. Video surveillance showed a riot erupt which
included approximately forty detainees. EPPC Contract Detention Officers (CDOs) were
observed attempting to restrain detainee Armando CAMACHO-Franco.

Video surveillance shows detainee Mayfreed DURAN-Arape attempt to approach the CDOs
dealing with CAMACHO. A CDO is observed putting his hands up as to stop DURAN from
interfering with the CDOs dealing with CAMACHO; however, DURAN does not stop. Multiple
CDOs attempt to subdue DURAN; however, it appears he is resisting the CDOs. DURAN is
observed kicking during the time CDOs are attempting to restrain him.

CDO’s indicated DURAN was not following commands given. DURAN hid his hands in front
of his body, preventing being placed in hand restraints. CDO Alejandro De La Fuente stated he
grabbed DURANs legs which caused DURAN to go to the ground. CDO De La Fuente stated
DURAN was kicking while on the ground and at some point, he kicked CDO De La Fuente on
the right ankle causing him to buckle. CDO De La Fuente attempted knee strikes to the thigh
area of DURAN to get him to comply and during this CDO De La Fuente hit the ground.

DURAN resisted CDOs commands and physically resisted CDOs orders by not placing his
hands behind his back and caused injury to a CDO by kicking him. CDO De La Fuente was
transported to a hospital for medical care and is still recuperating from his injuries.

On October 12, 2023, DURAN waived his right to legal counsel and agreed to be interviewed by
SSA Castaneda. DURAN stated on August 29, 2023, he became angry when he observed
CAMACHO being subdued by CDOs. DURAN stated he resisted CDOs commands and at some
point, while on the ground his legs were crossed and pushed against his butt by a CDO. DURAN
explained he kicked to get out because it was uncomfortable. DURAN stated he did not recall
kicking a CDO.
